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Attnmeys fur Plaintiff i - -'_5:
Nelghborhood Assistance Corpmation of Arnerica ‘

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Neighborhood Assistance Cnrporation gng N{BACVII - 046-3 hoc (MLG:)

le Amerlca, a Massachusetts

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01=‘ THE LANHAM ACT 115 U.S.c. §
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UNFAIR COMPETITI N
First Dne Lending Corporation, a 0

Calii`omia corporation, John krescera_
an individual, and Doe:s 1- IU, DEMAND FUR _]URY TR]AL

Defendant,

 

 

Flainliff` Neighbnrhood Assistance Corporation of America (“NACA"], in its
complaint against Defendants First One bending Cc-rpnration [“First One"}, John
Vescera, and Does 1‘1{] [cn|lectively “Def`endanls“] for monetary and injunctive

reiiet`, alleges as follows:

 

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J'URISI)ICTI()N AND VENUE

l. This Court has subject matter jurisdiction over this action pursuant to
28 U.S.C. § 1331 and 15 U.S.C. § l lZl. Thc Court has supplementaljurisdiction
over the state law claim for common law unfair competition pursuant to 28 U.S.C. §
l367.

2. Venue is proper pursuant to 28 U.S.C. §§ lBQl(b)-(c) because all
Defendants reside in the State of California and Defendant First One maintains its
principal place of business in Orange County and Defendant John Vescera resides in
Orange County, Which is located in the Central District of California.

PRELIMINARY STATEMENT

3. This action arises from Defendants’ fraudulent mortgage modification
scam targeting vulnerable homeowners seeking mortgage modification
Defendants’ scheme is based on numerous false and misleading representations of
fact, including, but by no means limited to, false and misleading representations that
are purposefully designed to convince vulnerable homeowners that (l) First One is
affiliated with, connected to, or associated with NACA, (2) First One is a non~profit
public benefit corporation with the specific purpose of expanding affordable housing
opportunities to the public and providing counseling services to assist homeowners
in avoiding default and foreclosures, (3) First One is affiliated with or sponsored by
the U.S. Department of Housing and Urban Development (“HUD”), and (4) First
One is a HUD Approved Housing Counseling Agency. The purpose of Defendants’
numerous misrepresentations including misrepresentations about First One’s
affiliation with NACA, is to gain the confidence of consumers so that Defendants
can accomplish their goal: taking hard-earned money from vulnerable homeowners
who can ill afford to squander the $1,45() to $l,85() typically charged by First One
for its purported services

4. The services that First One purports to provide are essentially

worthless For the $1,45() to $1,850 typically paid, First One does nothing more

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1 than submit financial information provided by the homeowner to NACA, which
2 homeowners can do free of charge through NACA’s website. As discussed further

below, through its Home Save Program, NACA provides homeowners assistance in

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assembling and submitting documentation to their mortgage servicers free of charge
to the homeowner.

5. Not only are First One’s services worthless First One’s practice of
collecting the fees in advance of a successful loan modification is illegal under
California law, which prohibits charging advanced fees for mortgage modification

service and requires that the service provider provide a specific notice regarding the

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availability of the services for free from other sources prior to entering into a fee

11 agreement Defendants cannot claim ignorance of the relevant California law; in

12 May 2011, First One was ordered by California’s Department of Real Estate

13 (“`DRE”) to desist and refrain from charging any advance fees in connection with

14 mortgage modifications

15 6. Defendants’ scheme not only harms individual homeowners it harms
16 legitimate businesses that lawfully provide mortgage modification services AS

17 recognized by the Office of the Special inspector General for the Troubled Asset

18 Relief Program (“SIGTARP”) in a December 1, 2011 press release, “Mortgage

19 seams harm not only homeowners but legitimate businesses and the market as a

20 whole.” Defendants’ scam is particularly harmful to NACA, a legitimate and well-
21 known non-profit organization Whose primary goal is to build strong, healthy

22 neighborhoods in urban and rural areas nationwide through affordable

23 homeownership. By First One’s deceitful claims of affiliation, connection, or

24 association with NACA, and its dishonest and unlawful conduct towards vulnerable
25 homeowners Defendants have been unjustly enriched at NACA’s expense While
26 Defendants have lined their pockets NACA’s reputation has been, and will continue
27 to be, tamished by the perception that First One and NACA are affiliated

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7. By this action NACA seeks to permanently enjoin Defendants - and all
persons or entities working for, in conjunction with or otherwise under the control of
Defendants -~ from (1) using NACA’s name on advertisements websites or any
other promotional materials (2) making any false or misleading representation of
fact that is likely to deceive or cause confusion as to First One’s affiliation,
connection, or association with NACA, (3) misrepresenting the nature,
characteristics or qualities of First One’s services including misrepresentations
about its non-profit status and its affiliation with HUD, (4) charging advance fees in
violation of California law, and (5) failing to provide notice that the services may be
obtained for free from other sources as required by California law. NACA also
seeks monetary relief in the amount of Defendants’ profits realized through its
fraudulent scam, including all amounts First One charged homeowners for any loan
modification services NACA also seeks attorneys’ fees incurred in this action and
punitive damages for Defendants’ malicious oppressive and fraudulent conduct.

THE PARTIES
A. The Neighborhood Assistance Corporation of America

8. The Neighborhood Assistance Corporation of America is not~for-profit
corporation, organized under the laws of the Commonwealth of Massachusetts that
provides mortgage related housing assistance to primarily low and moderate income
families in more than twenty-five states and the District of Columbia. Since its
inception in 1994, the Neighborhood Assistance Corporation of America has
provided mortgage~related services to primarily low and moderate income families
under the trade name of “NACA.” NACA has done business in California since
1999, and NACA currently has offices in Oakland and lnglewood.

9. On or about October 21, 2003 and July 6, 2004, NACA obtained, and
has since then continuously maintained, with the U.S. Patent and Trademark Office
(“USPTO”) valid registered servicemarks in the word “NACA,” one without style or
design (Registration No. 2774798) and one stylized with design (Registration No.

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1 2859713). On or about August 3, 2009~, both servicemarks were deemed

2 incontestable by the USPTO.

3 10. Prior to 2008, the primary services NACA provided were loan

4 origination services NACA’s loan origination services were, and continue to be,

5 extremely unique because NACA, through agreements with major lenders is able to

6 offer affordable mortgages to individuals whose credit or other financial history

7 would otherwise prevent them from obtaining a market-rate home loan, provided

8 those individuals successfully complete NACA’s comprehensive housing

9 counseling program (“Purchase Program”).
10 1 1. in addition to providing loan origination services through its Purchase
11 Program, NACA also conducted, and continues to conduct, highly publicized
12 homeowner advocacy initiatives ranging from letter-writing campaigns to protests
13 because of which NACA is able to negotiate more effectively with banks and other
14 financial institutions and ensure NACA clients’ access to affordable mortgage
15 products f
16 12. Since its inception, NACA’s Purchase Program has originated tens of
17 thousands of mortgages to primarily low and moderate income families in more than
18 twenty-five states and the District of Columbia. During this time, NACA has also
19 spearheaded countless high-profile advocacy initiatives to support low and moderate
20 income homeowners present and prospective Accordingly, NACA has gained
21 national notoriety as the loan originator of choice, as well as faithful advocate, for
22 low and moderate income homeowners
23 13. In or around 2008, responding to the onset of the national mortgage
24 crisis NACA expanded its services to include assisting homeowners saddled with
25 unaffordable mortgage payments and facing foreclosure of their homes Through
26 NACA’s Home Save Program, homeowners receive assistance in assembling and
27 submitting documentation to their mortgage servicers which, according to
28 agreements between each servicer and NACA, are required to examine each

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1 homeowner submission, halt any corresponding foreclosure proceeding and work in

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good faith with the homeowner to reach a solution that will help the homeowner
remain in his or her home and make timely mortgage payments Such solutions
include, among others payment forbearances, interest reductions and principal
reductions

14. NACA provides its Home Save Program services to homeowners free
of charge NACA receives compensations from certain mortgage servicers for each
successful solution.

15. To ensure that every homeowner struggling with unaffordable

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mortgage payments and facing foreclosure has access to the Home Save Program,
11 NACA has invested significant resources in advertising the Home Save Program by,
12 among other means developing a full-service, comprehensive NACA website that
13 introduces homeowners to the Home Save Program (as well as the Purchase

14 Program) and provides homeowners with all necessary information to begin

15 NACA’s Home Save process Since the commencement of the Home Save

16 Program, NACA has assisted homeowners in making hundreds of thousands of

17 solution requests to mortgage services

18 16. Due to the demand for NACA’s Home Save Program, NACA created
19 large multi-day events called Save-the-Dream Events. The events are held in large
20 meeting or conventions centers such as San Francisco’s Cow Palace, and are

21 attended by tens of thousands of homeowners and maj or mortgage servicers Save-
22 the-Dream Events result in many of the attendees obtaining immediate monthly

23 payment reductions or other solutions NACA has done over forty Save-the-Dream
24 Events to date, and additional Save-the-Dream Events continue to take place around
25 the country.

26 17. NACA has developed an excellent reputation for assisting low and

27 moderate income people to achieve the dream of homeownership. Through the

28 Home Save Program and the Save-the-Dream events NACA similarly has

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l developed national reputation as an effective and trustworthy provider of loan

2 modification and related mortgage assistance to low and moderate income families

3 B. First One Lending Corporation and Related Defendants

4 18. On information and belief, First One is a for-profit corporation,

5 organized under the laws of California. First One was licensed by the California

6 `Department of Corporations as a mortgage banker but First One surrendered its

7 license effective January 3, 2012. First“One’s principal place of business is located

8 at 31831 Camino Capistrano, Suite 30013, San Juan Capistrano, CA 92675.

9 19. On information and belief, First One has done, and is currently doing
10 business under a variety of different names including First One National Mortgage,
1 1 National Loan Resolution7 National l\/Iortgage Help Center (“NMHC”), and
12 National l\/loitgage Assistance Center (“Nl\/IAC”).

13 20. On information and belief, First One has a poor business reputation
14 On information and belief, numerous First One customers have complained to First
15 One about its services and in some instances have accused First One of fraud and
16 theft.
17 21. First One is also the subject of a DRE cease and desist order. On l\/Iay
18 4, 2011, the DRE issued an order requiring First One to desist and refrain from
19 charging, demanding, claiming, collecting and/or receiving advanced fees “in any
20 form, and under any conditions with respect to the performance of loan
21 modification or any other form of mortgage loan forbearance services in connection
22 with loans on residential property containing four or fewer dwelling units.”
23 22. On information and belief, Defendant John Vescera is the President and
24 CEO of First One and its sole director. Vescera currently resides in Orange County,
25 California. On information and belief,'Vescera participated, directed, authorized or
26 ratified the conduct set forth in this complaint, including First One’s false
27 representations of affiliation, connection or association to NACA.
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l 23. John Doe Defendants 1 through 10 are presently unknown persons or

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entities working for, in conjunction with or otherwise under the control of `First One

3 or Vescera.
4 EA._QI§
5 24. On or about l\/larch 4, 2009, the United States Treasury Department
6 announced the details for the Home Affordable Modification Program (“HAl\/IP”),
7 which among other things provided guidelines for mortgage modification and
8 incentives for mortgage servicers to modify existing mortgages under the HAMP
9 guidelines
10 25. On information and belief, shortly thereafter Defendants began

1 1 perpetuating their fraudulent and misleading scam to take advantage of HAl\/IP and
12 desperate homeowners who could no longer afford their mortgage payments On

13 information and belief, from as early as l\/larch 2009 through the present, Defendants
14 have solicited homeowners through television and radio ads that provide a toll free
15 telephone number for homeowners to call, direct telemarketing, and websites set up
16 in the names of fictitious businesses including NMHC and NMAC.

17 26. On information and belief,' the NMHC website first appeared in March
18 2009, and included an online application process by which homeowners could see if
19 they qualified for a mortgage reduction On information and belief, the purported
20 online application was little more than a ruse to obtain the contact information of

21 potential victims

22 27. The NMHC Website did and does contain false or misleading
23 information, as demonstrated by the following examples
24 a. NMHC represents that “Only a State approved attorneys may legally
25 modify your loan with your lender,” and provides a form to fill out “to
26 have an approved attorney`contact [the homeowner] about a loan
27 modification.” Ex. A.
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1 b. NMHC represents that °‘[o]ur national network of foreclosure

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prevention specialists will work hard on your behalf and negotiate

3 directly with your Bank to,,lower your monthly payments through a
4 l\/iortgage Modification Plan.” On information and belief, 'NMHC has
5 never had a national network of foreclosure specialist and did, and does
6 not, negotiate directly with banks on behalf of homeowners Id., p. M.
7 c. Nl\/iHC represents that NMHC is non-profit organization that educates
8 the general public and refers the homeowner’s contact information, at
9 no cost to the homeowner, to evaluate qualifications for a mortgage

10 payment reduction Id,

1 1 d. NMHC adopts NACA’s Save-the-Dream theme by claiming that

12 Nl\/IH'C has been “Helpingto Save the American Dream since 1995.”

13 Id.

14 e. Nl\/IHC purports to offer a warning about fraud and advises

15 homeowners not give information to other websites: “Do not give out

16 your information with other Websites” Id.

17 28. NMAC’s website also adopts NACA’s Save-the-Dream theme

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(“Helping Homeowners to Save Their Dream”) and included and includes similar

19 false representations and misleading information, including the following:

20 a. NMAC represents that it “assists troubled homeowners everyday

21 through our national network of foreclosure prevention specialists.”
22 Ex. B.

23 b. Nl\/IAC represents that it is a non-profit organization that educates the
24 general public and refers the homeowner’s contact information, at no
25 cost to the homeowner, to evaluate qualifications for a mortgage

26 payment reduction ]d. l

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. NMAC represents that Nl\/IAC sends the homeowner’s information to

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foreclosure prevention law firms that will call the homeowner back and
go over options based upon the homeowner’s unique situation [d.

d. Nl\/iAC strongly advises homeowners not to seek a mortgage
modification on their own;l “Don’t take chances with your home as
another Do lt Yourself project, have one of our foreclosure prevention
attorneys take care of everything so that you can have peace of mind.”
ld.

e. Nl\/iAC represents that it c‘takes numerous calls and faxes to the right
people in the right department to work with banks.” Id.

f. Like NMHC, NMAC’s website purports to offer a warning about fraud
and advises homeowners not give information to other websites: “Do
not give out your information with other Websites.” ld.

29. On information and belief, the telephone number provided in the
above-mentioned advertisements and telemarketing is a telephone number for First
One, and the Nl\/IHC and Nl\/iAC websites are controlled and operated by First One,
Vescera or their agents Any person that responds to the ads or websites is
connected with First One.

30. First One then subjects the homeowner to a ruthless and well-conceived
bait and switch scheme, in which First One repeatedly misrepresents that nature of
its business the nature of the services its provides and its affiliation, connection or
association with NACA. First One passes itself off as a non-profit organization with
a mission to provide NACA-like housing counseling services free of charge to
homeowners But in fact, First One does not provide any housing counseling
services free or otherwise. lnstead, once a homeowner is reeled in, First One
charges the homeowner an excessive and illegal advanced fee to compile
documents and then First One passes the homeowner on to NACA, which First One

represents is affiliated with First One, to provide the free housing counseling that

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First ()ne had promised to provide First One pockets the 81,450 to 813850 it
typically charges and then avoids any further contact with the homeowner, turning
its attention to new victims to subject to the same fraudulent scheme

31. After a homeowner calls or is connected to First One via the internet,
First One’s scheme continues as follows First One first contacts the homeowner by
email and/ or sends a welcome letter and additional promotional materials to the
homeowner. In the welcome letter, the homeowner is congratulated “on being pre-
qualified for the First One’s National l\/Iortgage Help Center Program,” and asked to
return items on a checklist along with a check or money order (representing the first
of two payments) payable to First One Nl\/IHC. Ex. C. On information and belief,
there is no pre-qualification The additional materials typically provided by First
One at or near the same time as the welcome letter also contain a number of false
and misleading statements including the following:

a. First One represents that “The Nl\/IHC Program is through First One,
Approved by HUD (U.S. Department of Housing & Urban
Development) as a loan correspondent.” Ex. D.

b. First One represents that First One is “Compliant in _a_l__l_ 50 states.” [d.

c. First One represents that First One obtains “l\/Ionthly mortgage
payment reductions averaging 30% - 40%.” Id.

d. First One represents that First One has “Compliant relationships with
all major lenders & loan servicers.” Id.

e. First One represents purported actual results obtained by First One for
other homeowners ]d.

f. First One represents that First One’s specific purpose is to expand
affordable housing opportunities to the public. Id.

g. First One represents that “First One is a Housing Counselor Public

Benefit Corporation.” Id. (emphasis in original).

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32.

 

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21.

Fi:rst One represents that First One is associated with HUD, including
the use of HUD’s seal on documents Ex. E.

First One represents that First One is a “Non-Profit (lRS 501c) Public
Benefit Corporation.” ]d.

First Gne represents that First One has contacted the relevant lender
and the lender has requested certain documents and financial
information Ex. F.

First One represents that, based on information provided in the “free
initial consultation, a Housing Counselor Analysis determined” that the
homeowner has been “pre-gualified for either HAMP (Home
Affordable l\/Iodification Program)” or the homeowner’s “lender’s
Traditional mortgage revision guidelines” Id. (emphasis in original).
First One represents that statistics demonstrate that it is unlikely a
homeowner could obtain a mortgage modification by himself because
“Achieving a successful mortgage payment reduction requires specific
knowledge of HAl\/[P and Traditional mortgage payment reduction

guidelines to maximize results” Id.

. First One represents that First One does not share, give, sell or transfer

any personal information about its customers Ex. G.
First One represents that First One is “a member of NAHCA.” Ex. H.

First One claims to provide customers with comprehensive housing

counseling and loan modification services but, in fact, it does not. First One claims
to provide “free-of-charge housing counseling,” which First One’s promotional

materials describe as follows:

“First One is a Housing Counseling Public Benefit Corporation. We
offer free-of-charge housing counseling to assist consumers in making
informed and reasonable decisions with respect to their housing goals

and provide assistance in resolving their housing problems Should

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33.

free-of-charge housing counseling or assistance in communicating with lenders

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you choose, First One is pleased to assist you in communicating with
your lender to achieve a result. Our Housing Counseling assistance is
provided at no-charge and is not contingent on you hiring First One for

any other service.” EX. l.

. “First One coordinates each client’s financial analysis submission to the

Home Save Program of the Neighborhood Assistance l\letwork of HUD
Housing Counselors to assist you with your lender to achieve a result
HUD (Dept. of Housing and Urban Development) Housing Counseling
assistance is provided at no-charge and is not contingent on you hiring
First One for any other service.” Id.

On information and belief, First One, however, does not provide any

First One makes these misrepresentation (as well as the misrepresentations
described in the preceding paragraphs) to convince consumers that it provides the
same services as NACA and to secure consumers’ trust and confidence When a
consumer falls for this ruse, First One charges an outlandish fees for what it later

claims is actually a “documentation service” First One describes as follows:

Our documentation service is a service separate from our free
housing counseling Achieving a successful mortgage payment
reduction requires submitting a financial analysis to your lender
with supporting documentation that meets HAMP and/or
Traditional mortgage payment reduction guidelines The
objective is to prove to your lender why you should receive a
mortgage payment reduction The process for revising your
loan terms varies by lender. lt also varies by individual
borrower situation at any given lender. Should you choose, we
provide the valuable service of preparing your financial analysis

documentation and underwriting your financial situation

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according to your lender’s guidelines lust like processing a
loan based on a lender’s loan approval guidelines properly
structured and compliant documentation achieves the best
results

]a’.

34. First One typically charges from 81,450 to $1,850 for its
“docurnentation servi,ce,” payable in two equal payments Ex. D. The first payment
is due when the homeowner sends his “pre-qualified application package.” The
second payment is due when First One notifies the homeowner that its
documentation and financial analysis has been completed Id. First One claims to
provide 100% money back guarantee on its purported documentation service Id.

35. Once an unwitting consumer makes the second payment, First One uses
the personal information it obtains to create a NACA membership for homeowners
that have paid First One. Then, First One sends the homeowner a letter stating that
the financial analysis has been submitted to the homeowner’s “Housing Counselor
of the Neighborhood Assistance Network of HUD Housing Counselors to assist you
with your lender in achieving a result.”' The letter advises the homeowner to call the
counselor and provides NACA’s telephone number. The letter also provides a
NACA member number and password and advises the homeowner that the status of
the loan modification can be checked online with the member number and password
at www.naca.com - NACA’s website Ex. J.

36. On information and belief7 a similar letter is sent to every First One
client that makes a final payment to First One for documentation services By
themselves the letters are likely to cause confusion or mistake as to First One’s
affiliation, connection, or association with NACA. When considered together with
the false and misleading representations in First One’s other promotional materials
including First One’s representations that (1) First One is a “Housing Counselor

Public Benefit Corporation,” (2)N1\/IHC’s “national network of foreclosure

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Complaint

 

 

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prevention specialists will work hard on your behalf and negotiate directly with your
Bank to lower your monthly payments through a M,ortgage l\/lodification `Plan,” (3)
First One provides free housing counseling services in addition to its documentation
services and (_4) First One does not share, give, sell or transfer any personal
information about its customers there can be no legitimate dispute that First One
intends to deceive homeowners as to First One’s affiliation, connection, or
association with NACA.

37. On information and belief,j over 240 homeowners have fallen for First
One’s scheme and its false claims of affiliation, connection or association with
NACA.

38. First One’s intent to deceive homeowners regarding its affiliation with
NACA is also demonstrated by First One’s response to specific questions on the
subject or customer complaints F or example, in a November 16, 2011 email to
First One representative Randa El-Farra, a customer complained that First One’s
services had been a rip off:

Directly due to your dishonest and totally bad advice, we very
well may lose our horne of twenty-eight years

We thought we could trust your company. lt is so sad when
people our age are totally ripped off by corporations like those
you work for.

After speaking with the HUD folks and it is their opinion that
you folks are just a bunch of coporate [sic] crooks praying on
people during a bad economic time To quote the HUD
spokesperson. “We’re so sorry that you gave these folks
82000.00 for nothing You could have done this at the start, on
your own and would be out of this mess by now.[”] So thanks a

lot.

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Ex. K.

 

 

39.

and falsely claiming that First One was a registered referral agent to NACA, to wit:

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1 am so disappointed in you and First One. 1 hope you forward
this letter to the highest echelons because be sure that if my
entire moneys are not refunded in thirty days l will file a
complain [sic] with the Washington State Attorney General’s
Oftice, the Better Business Bureau and any other agency that 1
can find that has dealing with you.

You’ll also be on my facebook page revealing the dishonesty of

you company.
El-Farra responded by feigning offense, threatening to sue the customer

1 am saddened when someone like yourself makes such reckless
claims based on what someone else is telling you who does not
have the facts

The facts are stated in your contract You acknowledged,
signed and agreed to perform to our contract We fully
performed the Scope of Services for which you paid and hired
us

A staff of individuals have worked very hard on your behalf to
prepare the paperwork in accordance with your lender’s
requirements lt is the financial analysis and documentation
that is the most important part of the process Further, we are a
registered referral agent to NACA.

l would suggest that you refrain from publishing false and
defamatory statements about our organization You may open

yourself up to civil liability.

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Id.

 

Ex. L.

40.

responding to a complaint in October 20l l. ln an October 9, 2011 email, a

41.

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Honestly, [Customer], the truth is that We fully performed to the
agreement The process has helped others l am the one

disappointed by your comments which are unsupported

First One representative Stacey Timmins made similar representations

customer raised questions about the connection between First One and NACA and
complained that First One took $l,450 just to act as a middle man. Among other

things, the customer wrote:

What hurts the most is before Bill Mariner passed me on to you
as my case manager, l explained to him that the $1450 was all
of my savings and that I have 5 kids and one of them is a
newborn. He told me because he pre-screened me, that your
company would get the loan modification done with fidelity for
me and if your company could not get it done, that I would be
able to get a full refund. . . . Now I’m finding out that you guys
only took my money to pass me on to NACCA [sic] (a non-
profit organization) that is going to be doing everything you
guys was paid for and promised me you’ll do. This is my

submission for a full refund for my Sl450 ASAP please.

Timmins responded as foll’ows:

[Customer] - you are mistaken on this.

First One Lending is a registered referral agent with the
National Association of HUD Housing Counselors as well as a
HUD approved lender. We did not “pass you on” in the manner

you speak of - to NACA. /

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'You paid First One for Document Services ~»~ not for loan
modification Once we refer you to NACA your complete
financial analysis and paperwork have been completed by us -»
and you are then in the free of charge assistance phase of the
service A,ll of the paperwork has already been submitted
Please refer to the agreement / contracts that you signed
The guarantee policy states c‘If your lender denies your request
to modify the terms of your loan based on our document
service, you receive 100% money back.
Also please read the services agreement specifically items 2 and
3. y

Id.

42. On information and belief, Defendants also made verbal representations
that First One was affiliated, connected, or associate with NACA.

43. On information and belief,y First One collected fees ranging between
$1,000 and $2,000 from at least 240 homeowners through Defendants’ false and
misleading representations about First One’s affiliation with NACA, its affiliation
with HUD, and the nature and quality of its services. On information and belief,
Defendants have been unjustly enriched by at least $350,000 through its fraudulent
and illegal scam and its unlawful collection of advanced fees.

44. Defendants’ fraudulent scheme violates a number of federal and
California laws, including the Section 43(a) of the Lanham Act (which prohibits
false or misleading statements regarding affiliation); Section 2944.6 of the
California Civil Code (which requires any person providing loan modification
services to provide written notice that the services may be obtained from other
sources free of charge); Section 2944.7 of the California Civil Code (which
prohibits any person providing loan modification services from collecting advanced

fees); Section 1770 of the California Civil Code (which prohibits misrepresentations

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ofaffiliation, connection or association); and California’s 13 inancial lnformation
Privacy Act. l

45. First One’s false and misleading claims of affiliation, connection, or
association with NACA have damaged N'ACA’s reputation and will continue to
damage NACA’s reputation until Defendants’ scam is stopped

FIRST CLAIM F()R RELIEF
Violation of Section 43(a) of the Lanham Act
(15 U.S.C. § 1125(a))

46. NACA incorporates the allegations contained in paragraphs 1 through
45 as if fully set forth below.

47. Defendants made false and misleading statements of fact in commerce
regarding the nature of First One’s services and its affiliation, connection, or
association with NACA and HUD, as described above in paragraphs 24 through 45.

48. Defendants’ false and misleading statements have deceived or have the
tendency to deceive a substantial number of homeowners seeking to obtain a
mortgage modification

49. Defendants’ deception is material, in that it is likely to infiuence a
homeowner’s decision to pay First One for services.

50. Defendants caused the false and misleading statement to enter interstate
commerce On information and belief, the Nl\/IHC and NMAC website are available
in every state. Additionally, on information and belief, Defendants, who reside in
California, sent promotional materials by mail to homeowners in a number of other
states.

51. In addition to disgorgement of profits, a permanent injunction
prohibiting First Gne from making any claims of affiliation, connection or
association with NACA is appropriate NACA has suffered and irreparable injury
and will continue to suffer an irreparable injury if an appropriate permanent

injunction is not issued by the lessening of good will associated with its services.

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As discussed above in paragraphs 8 through 17, NACA has an excellent reputation
for assisting low and moderate income people to achieve the dream of
homeownership, and, through the Home Save Program and the Save-the-Dream
events, NACA has developed national reputation as an effective and trustworthy
provider of loan modification and related mortgage assistance to low and moderate
income families First One and Vescera, on the other hand, have terrible reputations
and leave many of their “clients” feeling as though they have been ripped off. Thus,
NACA’s good will has been and will continue to be harmed by any apparent
affiliation, connection and association with First One. Additionally, First One’s
false claims of affiliation, connection and association with NACA may expose
NACA to civil claims based on First One’s fraudulent and wrongful conduct

52. The remedies available at law are not adequate to fully compensate
NACA for the harm caused by Defendants’ misconduct, including the harm suffered
by NACA for its continued loss of good will and exposure to civil claims based on
First One’s fraudulent and wrongful conduct Additionally, the balance of the
hardships weighs in favor of a permanent injunction and the public interest would be
served by a permanent injunction against First One.

SECOND CLAIM FOR RELIEF
Common Law Unfair Competition

53. NACA incorporates the allegations contained in paragraphs 1 through
45 as if fully set forth below. l

54. Since its inception in 1994, NACA has developed an excellent
reputation for assisting low and moderate income people to achieve the dream of
homeownership. Since 2008, NACA has spent substantial time, money and skill
developing and promoting the Home Save Program and the Save-the-Dream events.
Through the Home Save Program and the Save-the-Dream events, NACA has

developed a reputation throughout California and nationally and substantial good

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will as an effective and trustworthy provider of loan modification and related
mortgage assistance to low and moderate income families

55. By misrepresenting an affiliation with NACA and passing off NACA’s
services as its own, Defendants have appropriated NACA’s reputation and good will
and used it in its mortgage modification scam.

56. Defendants’ appropriation of NACA’s reputation and good will in its
mortgage modification scam was and is without NACA’s authorization or consent

57. NACA has developed its reputation and substantial good will in
California and nationally Defendants’ scam has and will continue to negatively
affect NACA’s reputation and good will. NACA has suffered harm and will
continue to suffer harm by Defendants’ misleading claims of affiliation with NACA
and the passing off of NACA’s services as its own.

58. Defendants have acted with malice, oppression, and fraud, which
warrant punitive damages

PRAYER FOR RELIEF

Plaintiff prays for the following relief:

1. An order enjoining Defendants from (a) making false or misleading
statements that suggest an affiliation with NACA, (b) making false or misleading
statements that suggest an affiliation with HUD, (c) making false or misleading
statements about its corporate status, (d) making false or misleading statements
about the nature or quality of First One’s services, (e) charging an advance fee in
violation of California law; and (D failing to provide notice that the services First
One provides may be available for free;

2. An award in the amount of Defendants’ profits or an order requiring
restitution of all amounts paid by homeowners to First One for mortgage
modification related services to the homeowners;

3. Punitive damages;

4. Attorneys’ fees and costs; and

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5. Other relief the Court deems proper and appropriate

DATED: March 22, 2012
KASOW!TZ, BENS()N, TORRES & FRIEDl\/IAN LLP

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Christopher J. l\/IcNamara

Attoriieys for Plaintiff
Neighborhood Assistance Corporation of America

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DEMAND FOR JURY T'RIAL

NACA hereby demands a jury trial on all issues so triable before this Court.

DATED: l\/larch 22, 2012
KASOWITZ, BENSON, TORRES & `FRIEDMAN LLP

 

Christopher J . McNamara

Attorneys for Plaintiff
Neighborhood Assistance Corporation of America

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EXHIBIT A

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VVelcome to the official National
l\/lortgage Help Center Website. Nl\/ll-lC
assists troubled homeowners everyday
through our national network of
foreclosure prevention specialists Get
the professional help you need to keep
your home and have peace of mind.

 

The Banks have taken advantage of you and your family for long enough! Our national network of
foreclosure prevention specialists will work hard on your behalf and negotiate directly with your
Bank to lower your monthly payments with the U.S. Loan Modification P|an.

See if you qualify for the U.S. Loan Modification Plan, fill out the no obligation Quick
Quote form below now:

Get He|p Now

 

What State are you in?' Choose A State -
Behind On mortgage - Must Select One ~ -
payments?*

Estimated mortgage balance _ N|ust Se|egt One - -
owed?'

Who is your lender?
First Name'

Last Name*

 

Primary Phone Number*

Secondary Phone Number

TEST|MON|ALS

Email Address*

l also need help with my credit g,_...,}
card debt of $7k+ (optional) ~~~

Submit a

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National Mortgage Help Center
800-393'0304
PO Box 85073
Richmond, \/A 23286
info@nmhcenter.org

The National Mortgage Help Center (NNIHC) educates the general public and refers your contact information at no cost to you, 10 evaluate qualifications for a

mortgage payment reduction NMHC is not a nonprofit organization and not affiliated or approved with any government program By applying with NMHC
does not guarantee a reduced monthly mortgage payment and the lender may not approve to change your loans

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Apply Now

How do l know ifl qualify for the U.Si Loan Modification Plan? You must:

1, Be an owner-occupant in a one to four unit property,

2v Have a loan that was originated on or before January 1, 2010,

3. Have a mortgage payment that is not affordab|e, perhaps because of a significant change in
income or expenses

|f you answered YES to all of these questions fill out form below to see if you are eligible for a lower
payment

See if you qualify for the U.S. Loan Modification Plan, fill out the no obligation Quick
Quote form below now:

Get Help Now

What State are you in?* Choose A State ~
Behind On mortgage - Must Select One - '
payments?*

Estimated mortgage balance - Must Se|ect One - -
owed?*

Who is your lender?

 

First Name*
Last Name'
Primary Phone Number*

Secondary Phone Number

 

Email Address*

l also need help with my credit ":
card debt of $7k+ (thiona|) '

submit

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Richrnond, \//-\ 23285
into@nmhcenter.org

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does not guarantee a reduced monthly mortgage payment and the lender may not approve to change your loan

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NMHC

Helping to Save the American Dream since 1995

Save Your Home : Consumer Alert

 

 

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Save Your Home ' 'i" l t
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Are you having trouble keeping up with your mortgage payments'.7 Have you received a notice from - ` _ l _ t
your lender asking you to contact them? .:-,pl; l i“ »._

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lf you are unable to make your mortgage payment:
1. Don't ignore the problem.

The further behind you become, the harder it will be to reinstate your loan and the more likely that
you will lose your house.

2. Know your mortgage rights.

Learn about the foreclosure laws and timeframes in your state (as every state is different) by
contacting the State Government Housing Office.

3. Understand foreclosure prevention options.

One of the main foreclosure prevention options currently being used is a Loan Modification. Beware - .,

of several loan modification scams are now circulating. Only a State approved attorneys may legally »“ g
modify your loan with your lender. Fill out the form here to have an approved attorney contact you `
about a loan modification 5

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4. Prioritize your spending.

After healthcare, keeping your house should be your Hrst priority Review your finances and see
where you can cut spending in order to make your mortgage payment Look for optional expenses-
cable TV, memberships, entertainment-that you can eliminate Delay payments on credit cards and
other "unsecured" debt until you have paid your mortgage

5. Use your assets.

 

Do you have assets-a second car, jewelry, a whole life insurance policy~that you can sell for cash to
help reinstate your loan? Can anyone in your household get an extra job to bring in additional
income'.7 Even if these efforts don't signincantly increase your available cash or your income, they
demonstrate to your lender that you are willing to make sacrifices to~keep your home. MM_Q_U|A_|=§

6. Don't lose your house to foreclosure recovery scamsl

lf any firm claims they can stop your foreclosure immediately if you sign a document appointing
them to act on your behalf, you may well be signing over the title to your property and becoming a
renter in your own home! Never sign a legal document without reading and understanding all the
terms and getting professional advice from an attorney, or a trusted real estate professional

See if you qualify for the U.S. Loan Modification Plan, fill out the no obligation Quick guote
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info@nmhcenter.org

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does not guarantee a reduced monthly mortgage payment and the lender may not approve to change your loan

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Apply blow '- Save Your Home _ Consumer Alert _ ln the News FAQ

Consumer Alert

'Mass Joinder' Lawsuits or Class Action Litigation

California Department of Real Estate (DRE) and the BBB has released consumer warnings about
'Mass Joinder' Lawsuits or Class Action Litigation scams.

The Better Business Bureau (BBB) warns homeowners to steer clear of mailings asking them to join
national “mass joinder" lawsuits to force their mortgage companies to cut their loan payments

Michelle Corey, BBB president and CEO, says the mailings are a new twist on schemes to obtain up
-front payments of $5,000 or more from homeowners struggling to pay their mortgages

See related video ‘Mass Joinder Lawsuit Hustlers Exposed”: http://youtu.belR4AyzE3GsOE

    

This alert is written to warn consumers about marketing companies unlicensed entities,

lawyers, and so-called attorney~backed, attorney-affiliated and lawyer referral entities ' ` “ -- '- .
that offer and sell false hope and request the payment of upfront fees for so-called “mass __ t Syi:i.ui,ii;r,."_t.:€
joinder" or class litigation that will supposedly result in extraordinary home mortgage " ` `
relief They are making a wide variety of claims and sales pitches, and offering impressive sounding

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legal and litigation services, with quite extraordinary remedies promised, with the goal of taking and /` 9 ‘ *
getting some of your money. il ii
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H|DDEN MONTHLY FEE’S

 

Beware of cunning and scrupulous attorneys that have hidden clauses buried in the fine print that
require a certain % of savings, as high as 30% as an example, if they successfully modify your
mortgage to a lower payment You should only pay one fee--otherwise you could be forced to pay
potentially hundreds of dollars a month for the life of the loan. Always read the whole contract in full
or have a professional, family member or friend assist you if you are unable to.

 

 

FORECLOSURE RESCUE SCAMS TEST|MON|ALS

As property values continue to decline across the country, fraudulent “foreclosure consultants" (con
artists) target homeowners who are behind on their mortgage payments Here's what you can do to
avoid becoming a victim:

i.DO NOT pay your mortgage payments to someone other than your lender, even if they promise to
pass the payment on to the lender. Fraudulent foreclosure consultants often keep the money for
themselves and disappear.

2.DO NOT sell your house or transfer he title to the "foreclosure rescuer". These fraudulent
foreclosure consultants often promise that if you transfer the title to them, you may stay in your
home as renters and buy it back later, This is a common scheme used to evict homeowners and
steal all or most of their home's equity.

3. DO NOT sign any documents without reading and understanding them first lf the document is too
complex, seek advice from a lawyer or an approved, trusted financial counselor Never sign
documents with blank spaces that can be filled in later by the other party or one that contains errors
or false statementsl even if someone promises to correct them later. Get promises in writing and
keep copies of all contracts you sign. Many homeowners think that they are signing documents for a
new loan to pay off the mortgage they are behind on. Later, they discover that they actually
transferred ownership to the "foreclosure rescuer".

http://www.nmhccnter.org/consumcralcrt.asp 3/22/2012

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lf you think this may have happened to you, you may be a victim of a crime and need to file a
complaint with your States’ Attorney General`s public inquiry Unit. Reporting con artists and
suspicious schemes helps prevent others from becoming victims

Read real testimonials from real people

 

BAN KRUPTCY FRAUD

There are several scarris circulating that are abusing the bankruptcy laws For example, a con artist
may offer to obtain refinancing or negotiate a payment plan with your lender and even may even file
a bankruptcy case in your name, without your knowledge as a part of the scam.

ln another kind of scam, a con artist may ask you to give a partial interest in your home to one or
more persons Each holder of a partial interest can then file bankruptcy, one after another The
bankruptcy court will issue a "stay" order each time to stop foreclosure temporarily However, the
stay does not excuse you from making payments or from repaying the full amount of your loan.

lf you think this may have happened to you, you may be a victim of a crime and need to file a
complaint with your States' Attorney General's Public inquiry Unit Reporting con artists and
suspicious schemes helps prevent others from becoming victims

 

REF|NANCE FRAUD

Beware of people posing as mongage brokers or lenders and offering to refinance your loan so you
can afford the payments Con artists will trick you into signing documents for a new loan and but in
fact you are signing over the ownership of your home. Always read and understand reading of all
documents

lf you think this may have happened to you, you may be a victim of a crime and need to file a
complaint with your States' Attorney General's Public inquiry Unit. Reporting con artists and
suspicious schemes helps prevent others from becoming victims

See if you qualify for the U.S_ Loan Modification Plan, fill out the no obligation guick Quote
form nowl

Many fraud abuse cases start out as free consultations by “counselors". Do not give out your
information with other Websites.

 
     

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Save Your Home Consumer Alert

 

in the News

Glut of foreclosed homes threatens housing market

Housing prices are falling, and they are going to fa// some more

The nation’s biggest banks and mortgage lenders have steadily amassed real estate empires,
acquiring a glut of foreclosed homes that threatens to deepen the housing slump and create a
further drag on the economic recovery

Troubled home market creates qeneration of renters

For many Americans a home now feels too cost/y, too risky or unlikely to appreciate

A growing number of Americans can't afford a home or don't want to own one, a trend that's
spawning a generation of renters and a rise in apartment construction

Bill would let appraisers 'round up' home values

Lawmakers seek legal way to fight effects of distressed property sales

Pity the poor Nevada homeowner With home prices tumbling there at perhaps the fastest rate in
the nation, it has become nearly impossible to get a handle on how much a home is worth. Why? - ‘ -~ ,.,- ~_' _ ,_
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Foreclosure sales slow. but remain very high
Huge backlog of distressed properties means any housing recovery is a long way away -f

Sales of homes in some stage of foreclosure declined in the Hrst three months of the year, but they ' z f"`
still accounted for 28 percent of all home sales - a share nearly six times higher than what it would n
be in a healthy housing market `

No end in siqht to foreclosure quagmire

Four years after a wave of rogue mortgage lending sent the U.S. housing market into the worst
collapse since the Great Depression, the devastating flood of resulting foreclosures shows no sign
of abating. in some ways, the problem is getting worse.

Foreclosure flood mav not have crested yet

More than 4 million seriously delinquent borrowers are at risk

if the national foreclosure crisis were a baseball game, we would be in about the top of the sixth
And we may have to go to extra innings.

 

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FAQ o _ l .
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Job loss or mortgage rate adjusted higher? You are not alone. Over 2 Million Americans filed for g ' ‘ '_ '~{
home foreclosure in 2008. Your solution will depend on your financial status, the mortgage's default 'l;¢vil l ‘ ~‘ ' --

status, the type of loan you have and the applicable foreclosure laws in your state.
Q: What is a Mortgage Modification?

A: A Loan Modification is a change to an existing loan to a more affordable level by a lender in
response to a borrower's long'term inability to repay it. Loan modifications typically involve a .-
reduction in the principal balance, interest rate or an extension of the length of the term of the loan, _` _.$_,a, i"_~'~.i! riggs
or a combination of the three. You may qualify if you have recovered from a hardship and can afford ' "'"' " “
the new payment amount. Most lenders can work with home owners, even if they have poor credit
and have a foreclosure date since they do not want your home. Speak with a attorney to go over
your options by submitting the form here

 

 

Q: |f |’ve missed too many payments, can l still get help? g 1
"-» ' ii : ‘= ;' _e
A: There's always time to get help. We can't work miracles, but we can always give expert advice for """` 'h 14 `~1~ l
any situation That being said, the help we're able to offer is far more constrained if you're eight ->:
payments behind than if you're one or two behind. The sooner we can get involved, the better ' "
chance you have of avoiding foreclosure

    

Q: ls it possible to stay in my house after foreclosure proceedings begin?

A: Contrary to what you might think, there are still options available to you after the foreclosure
process has started The sooner you fill out the form below, the more tools we'll have to help you fix
your situation

Read real testimonials from real people

Q: Do l need to be behind on my mortgage payments to be eligible for a Home Loan
Modification?

A: No. Responsible borrowers who are struggling to remain current on their mortgage payments are
eligible if they are at risk of imminent default, for example, because their mortgage payment has
recently increased to a level that is not affordable lf you have had or anticipate a significant
increase in your mortgage payment or you have had a significant reduction in income or have
experienced some other hardship that makes you unable to pay your mortgage, contact your
servicer. You will be required to document your income and expenses and provide evidence of the
hardship or change in your circumstances

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Q: l have a second mortgage. Am l still eligible?

A: Yes, but only the first mortgage is eligible for a modification

Q: How do l know if my servicer is participating? Are all servicers required to participate?
Servicer participation in the program is voluntary. However, the government is offering substantial
incentives to servicers and investors, and it is expected that most major servicers will participate

Participating servicers will sign a contract with Treasury's financial agent, through which they agree
to review every potentially eligible borrower who calls or writes asking to be considered for the

program
See if you qualify for the U.S. Loan Modification Plan, fill out the no obligation Quick Quote
form nowl

http://WWW.nmhccnter.org/faq.asp 3/22/2012

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Many fraud abuse cases start out as free consultations by “couriselors*’. Do not give out your
information with other Websites.

 
    

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Foreclosure Process | Foreclosure Optlons Consumer Alert q FAQ l App|y Today
~~ t ` Welcome to the official National _ .»--- » --¢i.&
f n ' Mortgage Assistance Center Website. “,j.’.’ .
¢¢ -'. _. NMAC assists troubled homeowners y `.'~ ‘,\>__,
everyday through our national network t _ mm
of foreclosure prevention specialists ‘_... »'<:":'*‘J’*'”`J~

Get the professional help you need to
keep your home and have peace of
mind

 

Just as the government is rescuing banks help is also available to you if you can 't afford to pay your
mortgage. You may qualify for a Loan Modification, Forbearance Agreement, or a Principal
Reduction

See if you qualify for the U. S. Loan Modification Plan fill out the no obligation Quick
Quote form below now:

 

Get Help Now
What State are you in?' Choose A State '

Behind on mortgage - l\/lust Se|ect One - '
payments?'

Estimated mortgage balance _ Must geiect One _ . g `_
owed?' "' ."'_'_.l§__il_ ' '_"`v `

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Who is your lender? , `ir¢|¢‘| 1
FirstName* -!-m is

LastName* _~."N|,H“__
Primary Phone Number ` w ` ` ` `

 

TEST|MON lALS
Secondary Phone Number "___°'°°‘°_

Email Address'

l also need help with my credit ft
card debt of $7k+ (optional)

“ Required Fie|d

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Forec|osure Process

The following is a generalized breakdown of the foreclosure process, as each State has
specific laws associated with it (contact your State’s Government Housing Office). The
information contained within these pages should not be considered legal advice You should
consult an attorney for advice regarding your individual situation

lt is important to understand the Foreclosure process Knowing your legal rights and seeking
foreclosure assistance can be the difference between keeping or losing your home Stay in
communication with your bank and do not ignore them. Banks do not want your home, and are
not in the business of buying and selling property They are in the business of financing your
home and want you to stay in your home, They may be willing to work with you to accept
partial payments right up front until you've caught up, as long as you keep in communication
with them.

Pre-foreclosure Stage

1. Once you are a few months past due, you will get what is called a Notice to
Accelerate letter At this point, you will need to pay the past amount plus any
late fees they assess you to stop the foreclosure process You may also receive
a letter saying that they may accelerate the due date of the loan and start the
foreclosure process if you do not pay by a certain date

2. The bank will hire an attorney and will forward you a Demand Letter if you do
not respond by paying the full amount due on the date the bank has established
in their Notice to Accelerate letter The Demand Letter otHCially notifies you that
if you don't bring your mortgage current, the foreclosure process is going to start
in the court system. You will also be responsible for any attorney fees added to
the delinquent amount, unpaid interest and late charges that are added to the
loan, which will make it more expensive to stop foreclosure later on.

Foreclosure Lawsuit Stage

3. ln the second stage of taking the Foreclosure process, if you do not respond
to the previous Demand Letter by paying the full amount due plus any attorney
fees, unpaid interest and late charges, the bank will then tile a foreclosure
lawsuit or the Notice of Default (NOD) with the county recorder or clerk. ln
general, you have about twenty to thirty days to respond to this judgment and
then a hearing will be set with the county courthouse ln most cases, banks are
able to get default judgments against you if you don`t make an appearance to
tht the foreclosure or file an answer. This makes it easier for banks to proceed
through the rest of the Foreclosure process But if you do not stand up for their
foreclosure rights at this point, the lender can obtain an easy victory in the
courts

Notice of Sale Stage

4. lf you have not previously responded to the Demand Letter or the Notice of
Default, you will be given a Notice of Sale after 20 to 30 daysl sometime more,
depending on how busy your bank is with other foreclosure Hles. This is when a
property is auctioned by the local court system at a sheriff sale, typically at the
court house steps lf there are no takers (investors who typically pay upfront
with a money order), then it goes back to the bank as the owner. Once the
auction has gone through, the new owner will get a sheriffs deed or other
temporary proof of ownership, which will allow them to take possession of the
house once the auction has been conhrmed. ln most states, once the house is

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auctioned, there is no point of return and the eviction of tenants starts if you
haven’t moved out by then, typically a 2 to 4 weeks process after the Sa|e.

You are not alone, We are here to assist you during this difficult time App|y now to see if you
qualify for a U.S. Loan Modification Plan.

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Foreclosure Options

Thankfully there are options available to you if you are looking to stay in your home.

Loan Modification

The most popular program, a Loan Modification is a change to an existing loan
to a more affordable level by a lender in response to a borrower's long-term
inability to repay it Loan modifications typically involve a reduction in the
principal balance, interest rate or an extension of the length of the term of the
loan, or a combination of the three. You may qualify if you have recovered from
a hardship and can afford the new payment amount. Most lenders can work
with home owners, even if they have poor credit and have a foreclosure date
since they do not want your home

Forbearance Ag reement

Depending on your situation, your bank may offer you a solution to repay your
missed payments and avoid foreclosure with a Mortgage Forbearance
Agreement. This agreement is made between a mortgage lender and
delinquent borrower in which the lender agrees not to exercise its legal right to
foreclose on a mortgage and the borrower agrees to a mortgage plan that will,
over a certain time period, bring the borrower current on their payments A
Mortgage Forbearance Agreement is a temporary solution for delinquent
borrowers designed for borrowers who have short-term nnancial problems
caused by an unforeseen hardship such as health problems or unemployment
Usually Mortgage Forbearance Agreements allow a minimum of 4 months to
postpone monthly mortgage payments, all the way up to 12 monthly payments
at the maximum '

Principal Reduction

 

A Principal Reduction is a process whereby your loan modification attorney
assists in negotiating down the total amount of the principal that you owe on the
loan to reflect current value of the property. Usually the interest rate is reduced TEST|MON|ALS
to current market rates and your monthly mortgage payment is lower. "___"°_

However a Principal Reduction is difficult because the bank or lender is not
making as much protit. and may even avoid mentioning principal reduction as
an option. Just a $200 a month reduction equals tens of thousands of dollars
less profit for the bank over the life of the mortgage

Aggly now for a Foreclosure Prevention Specialist to assist you now.

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Consumer Alert

Many people who are in the foreclosure process are desperate to save their home, and with
that is vulnerability from con artists intent to prey on this desperation.

'Mass Joinder' Lawsuits or Class Action Litigation

California Department of Real Estate (DRE) and the BBB has released consumer warnings
about 'Mass Joinder' Lawsuits or Class Action Litigation scams.

The Better Business Bureau (BBB) warns homeowners to steer clear of mailings asking them
to join national “mass joinder' lawsuits to force their mortgage companies to cut their loan
payments

Michelle Corey, BBB president and CEO, says the mailings are a new twist on schemes to
obtain up-front payments of $5,000 or more from homeowners struggling to pay their
mortgages Some mailings are tied to businesses in Stw Charles County.

 

See related video "Mass Joinder Lawsuit Hustlers Exposed":
http://www.voutube.com/watch?v=R4AyzE3GsOE&feature:voutu.be

This alert is written to warn consumers about marketing companies unlicensed entities,
lawyers, and so-called attorney-backed, attorney~af'liliated, and lawyer referral entities that offer

 

and sell false hope and request the payment of upfront fees for so-called “mass joinder” or ,;:_-*igg f ~" ;;;~j}
class litigation that will supposedly result in extraordinary horne mortgage relief They are ;';»;'.` "‘ m v_,“‘
making a wide variety of claims and sales pitches, and offering impressive sounding legal and """ _ ~ ~ »"
litigation services, with quite extraordinary remedies promised, with the goal of taking and il l `- :`"2' g__~ `
getting some of your money. *`

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FORECLOSURE RESCUE SCAMS
Bait and Switch Scam

You think you’re signing documents for a new loan to make your existing
mortgage current, but you don’t understand all the fine print and just signed
documents that surrender the title of your house to the scam artist in exchange
for a “rescue” loan. DO NOT sign any documents without reading and
understanding them first. lf the document is too complex, seek advice from a
lawyer or an approved, trusted financial counselor. Never sign documents with
blank spaces that can be Hlled in later by the other party or one that contains
errors or false statements even if someone promises to correct them later.

Share in profits of selling your home

The fraudulent foreclosure consultants offer to find a buyer for your home and
pay you a portion of the profit when the home sells only if you sign over the
deed and move out. Sometimes a fake buyer is brought in to make it a quick
process Once you transfer the deed, the scam artist simply rents out the horne
and pockets the proceeds while your lender proceeds with the foreclosure ln
the end, you lose your horne » and you’re still responsible for the unpaid
mortgage That’s because transferring the deed does nothing to transfer your
loan obligation l

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Rent*to-Buy Scam

in a similar scheme the fraudulent foreclosure consultants ask for you to sign
over the title as part of a deal that allows you to remain in your horne as a
renter, and to buy it back during the next few years You may be told that
surrendering the title will allow you to get a better credit rating to refinance the
home to prevent the loss of the home They may rent it back to you (if they
haven’t just evicted you outright), but over time steadily increase the rent to the
point that you are unable to make the payments Then they sell your house and
take off with the equity DO NOT sell your house or transfer he title as these
fraudulent foreclosure consultants This is a common scheme used to evict
homeowners and steal all or most of their horne's equity \

if you think this may have happened to you, you may be a victim cfa crime and
need to file a complaint with your States' Attorney Generai`s Public inquiry Unit.
Reporting con artists and suspicious schemes helps prevent others from
becoming victims

Bankruptcy Fraud Scam

There are several scams circulating that are abusing the bankruptcy laws For
example a con artist may offer to obtain refinancing or negotiate a payment
plan with your lender and even may even file a bankruptcy case in your name,
without your knowledge as a part of the scam

in another kind of scam, a con artist may ask you to give a partial interest in
your horne to one or more persons Each holder of a partial interest can then file
bankruptcy, one after another The bankruptcy court will issue a “stay” order
each time to stop foreclosure temporarily However, the stay does not excuse
you from making payments or from repaying the full amount of your ioan.

Here are some red flags to watch for:

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if you think this may have happened to you, you may be a victim of a crime and need to file a
complaint with your States' Attorney General’s Pubiic inquiry Unit. Reporting con artists and

instruct you to pay your mortgage payments to someone other than your iender, even if

they promise to pass the payment on to the lender

instruct you to transfer your property deed or title to them

instruct you to rent your horne so you can buy it back later

Pressure you to sign documents that you do not understand

instruct you to sign documents that have blank spaces that they can fill out later
themselves

lefer to fill out the paperwork for you

They are non-attorney / law firm and collects an upfront fee before providing you with

any services
instruct you not to contact your lender iawyer, or creditor housing counsellor

They guarantee to stop your foreclosure process regardless of your circumstances

suspicious schemes helps prevent others from becoming victims

Many fraud abuse cases start out as free consultations by “counselors”. Do not give out

your information with other Websites.

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National Mortgage Assistance Center
800-393~0304
17702 Mitcheii N.
lrvine, CA 92614
info@nmacenterorg

The National Mortgage Assistance Center (NMAC) educates the general public and refers your contact information at no cost to you, to evaluate qualifications
for a mortgage payment reduction Nl\/|AC is not a non~profit organization and not affiliated or approved with any government program By applying with NMAC
does not guarantee a reduced monthly mortgage payment and the lender may not approve to change your loan This Website is not one of several lead»
generation Websites that all generate quotes for the same provider

http://Www.nmacenter.org/consumer~alert.asp

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National Mortga
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Foreclosure Process l Foreclosure Opttons § Consumer Alert l FAQ | Appty Today
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FAQ c ~' ~
Q: What does NMAC do for me exactly? 1 '-“““~>4:"~¢~»

A: When you fill out the no-obligation form, we send your basic information to a foreclosure `B¥!}W»’j§‘;_l-UH'¢‘»“-_¢-
prevention law firm that will call you back and go over options based upon your unique
situation This is the first step in the process towards a possible mortgage payment reduction
so that you can stay in your home.

Q: lf |’ve missed too many payments, can l still get he|p?
A: There's always time to get help. We can't work miracles, but we can always give expert
advice for any situation That being said, the help we're able to offer is far more constrained if
you‘re eight payments behind than if you're one or two behind The sooner we can get
involved, the better chance you have of avoiding foreclosure

Q: ls it possible to stay in my house after foreclosure proceedings begin?

A; Contrary to what you might think, there are still options available to you after the foreclosure
process has started The sooner you fill out the form below, the more tools we'll have to help
you fix your situation.

Q: Can a Loan Modification include the late charges from the |ender?
A; Mortgagee Letter 2008~21 states that accrued late charges should be waived by the
mortgagee at the time of the Loan Modification

Q: Do l need to be behind on my mortgage payments to be eligible for a Loan

 

Modification?

A: No. Responsible borrowers who are struggling to remain current on their mortgage

payments are eligible if they are at risk of imminent default, for example, because their ¢,'-']§:I-_
mortgage payment has recently increased to a level that is not affordable. lf you have had or .,5_,5,- j~ '

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anticipate a significant increase in your mortgage payment or you have had a significant :"'¥ ' n" w
reduction in income or have experienced some other hardship that makes you unable to pay ll | .¢`”._ "\ '
your mortgage, contact your servicer. You will be required to document your income and "_‘} f 3
expenses and provide evidence of the hardship or change in your circumstances

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1 .‘.',;JJ;».-‘;.; in `..
Q: ls it required to perform an escrow analysis when doing a Loan Modification?
A: ¥es, a retroactive escrow analysis is peifonned at the time the Loan Modification to ensure TEST|M@N|ALS
that the past due payments are capitalized and reflect the actual escrow requirements for those `°___°°°_`°
months capitalized

Q: l have a second mortgage. Am l still eligible?
A: Yes, but only the first mortgage is eligible for a modification

Q: Can l do any ofthis myself?

A: Yes you can-just like you can file your own taxes, do your own plumbing and electrical,
and fix your own car. Don't take chances with your home as another Do lt Yourself project,
have one of our foreclosure prevention attorneys take care of everything so that you can have
peace of mind.

Q: Are there any government programs available?

A: Yes, one is the Obama Administration introduced ln February 2009 as part of a
comprehensive Financial Stability Plan to address the key problems of the foreclosure crisis to
get our economy back on track. A critical piece of that effort is Home Af'fordable Modification
Program (HAlVlP), a plan to stabilize the housing market and help struggling homeowners get
relief and avoid foreclosure lt’s a specific loan modification program that not everyone qualifies
for. Another is the HOPE Now Program, which will send a letter to your lender on your behalf
requesting a loan modification Unfortunately, a single letter may not persuade your bank to
work out a loan modification lt takes numerous calls and faxes to the right people in the right
department to work with banks

http://Www.nmacenter.org/faq.asp 3/22/2012

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Foreclosure Process l Foreclosure Options | Consumer Alert| FAG |ADD|\/ Todav l Home l Privacv Policv

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http://www.nmacenter.org/faq.asp ' 3/22/2()12

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National Mortga
Asslstance Cente
Helping Homeownei's to Save Theii' Di'eam

Foreclosure Process l Foreclosure Options Consumer Alert FAQ l Apply Today

     

Apply Today

How do l know ifl qualify for the U.S. Loan Modincation Plan?

To apply, you must:

1. Be an owner~occupant in a one to four unit property,

2. Have a loan that was originated on or before January 1, 2009,

3. Have a mortgage payment that is not affordable, perhaps because of a significant change in
income or expenses

lf you answered YES to all of these questions, fill out form below to see if you are eligible for a
Home Loan Modification.

Get Help Now
What State are you in?' Choose A State '
Behind On mortgage - Must Select One - -
payments?'
Estimated mortgage balance _ Must Select One _ .
owed?*

Who is your lender?
First Name'

Last Name*

 

Primary Phone Number*

Secondary Phone Number . -5'¢;*1!5 ' " §l“ :"'

Email Address* w
TEST|MON|ALS

l also need help with my credit §"i
card debt of $7k+ (optional) "`

" Required Field

Foreclosure Process | Foreclosure Options l Consumer Alert | FAQl l ADolv Today l Home | Privacv Policv

National Mortgage Assistance Center
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EXHIBIT C

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NMHC

NAT|ONAL MORTGAGE HELP CENTER

Helpr'ng Homeowners Across Amen'ca!

Lender Proposa| and Guarantee Policy Enclosed

Dearf

CONGRA TULA TIONS on being pre-qualified for the First 0ne’s National Mortgage Help
Center Program!

P|ease call me with any questions

Gina Bailey

Phone: 1- 800-353-1446

Fax: 1- 800-359-6041

Email gina@flrstone|oans.com

Program Websibe: www.lmxinfo.com

Plcase follow the Instructions:

> Comp|ete the items on the Checklist and return l
with your check or money order payable to: First One lNMHC

b Retum your package with the enclosed pre-paid Fedex Air bill

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EXHIBIT D

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CENTER the One that cum First!!!

 

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US! ,

- The NMHC Prog ram is through FM', Approved by
HUD (U.S. Department of Housing & Urban Development) as a
loan correspondent ted

(.) - Compliant in §_l_l 50 states 32 @Bl$ §§ §§ w
` - Monthy mortgage payment reductions averaging 30% - 40%

- Principle reductions are addressed when current mortgages
are greater than the home’s value.

- Every homeowner file is assigned to a specific Cas‘e Manager

- Compliant relationships with all major lenders 81 loan
servicers l

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LENDER! l

 

 

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ACTUAt_ MODIFICATIONS (Resulting from our National Mortgage Help Center Program)

Monthlv Payment

 

$3912
$2791
' $257]
(;) $1870
S1598
$l488
51302
$1192
$ 742
$ 346
$ 330

After Modification Montth Savings Lender
$2015 $1897 Bank or Ameri¢¢
$1410 3138] American Home'Murtgage
$1264 $l301 Baok of America
$] 076 $ 794 American Home Mortgage
51128 S 470 Asc
$1058 3 430 Limm Loan servicing
$ 891 $ 411 Franklin Credit Maoagemeot
$ 648 S 544 Provideot Fundit`lg
S 400 $ 342 Chase Mortgagei
$ 175 $ 171 GMAC ‘
$ 100 $ 230 PNc t
($ Savr'ngs For You!)
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TthTop Fdf§%j s
(Frequently Asked Questions)

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NMHC

About First One.

First One is a Housing Counselor Public Benefit Corporation. We are also an approved |enderthrougli
HUD (U.S. Dept. of Housing and Urban Development). Our specific purpose is to expand affordable housing
opportunities to the public. To provide housing counseling services to assist homebuyers and homeowners
in obtaining affordable housing hnancing and assisting homeowners to avoid default and foreclosures

Do l qualify for a Mortgage Payment Reduction?

Based on the information you provided during your free initial consultation a Housing Counselor Analysis
~ determined that you are gre-_qualified for either the HAMP (Home Affordab|e ,Modif`ication Program) or your

lenders Traditional mortgage revision guidelines ' ' ~ ~ » _ '_

How much can I save? _

This depends on your current financial situation The goal of a mortgage payment reduction is to reduce the

homeowners monthly mortgage payment to make their home affordable Homeowners who have benefited

from our services have received mortgage payment reductions that bring their mortgage payment debt ratio

to within 31% or their gross income. Mortgage principal balance reductions have also been achieved and
possible when your current mortgage balance exceeds the value of your home.

Can l do this myself?

Statistics demonstrate this is unlikely. Achieving a successful mortgage payment reduction requires specific
knowledge of HAMP and Traditional mortgage payment reduction guidelines to maximize results. Most of
our customers who attempted to “try it themselves", were declined or received a minimum payment
adjustmentl still leaving them unable to afford their home.

How does your documentation service assist in my achieving a Mortgage Payment

Reduction?

Our documentation service is a service separate from our free housing counseling Acliiieving a successful
mortgage payment reduction requires submitting a financial analysis to your lender with' supporting
documentation that meets HAMP and/or Traditional mortgage payment reduction guidelines. The objective
is to prove to your lender why you should receive a mortgage payment reduction. The process for revising
your loan terms varies by lender. lt also varies by individual borrower situation at any given lender. Should
you choose. we provide the valuable service of prepaan your financial analysis docum:entation and
underwriting your financial situation according to your lenders guidelines Just like processing a loan based
on a lenders loan approval guidelines, properly structured and compliant documentation achieves the best
results. v l

Who Communicates with my lender?

."'st One is a Housing Counselor Public Benefit Corporation. We offer friee-of-charge housing

.. .unseling to assist consumers in making informed and reasonable decisions with respect to their
housing goals and provide assistance in resolving their housing problems Should you choose,
First One is pleased to assist you in communicating with your lender to achieve a result Our _
Housing Counseling assistance is provided at rio-charge and is not contingent on you hiring Firs
One for any other service 1

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How much does the documentation service cost'?
Once you have been pre~oualified based on the information you provided to the Housing Counselor during
your free initial consultation if you chose to have us process and document your financial analysis pursuant
AMP and/or Traditional mortgage payment reduction guidelines the cost of our documentation service is
850.00. An initial document processing payment of $925.00 is sent with your pre-qualified application
package When you are notified that your documentation and financial analysis are completed a completior
payment cf $925.00 is due at that time and your total fee is satisfied

  

A lot of work goes into preparing your package which is suitable for your submission to your lender. lt
involves case managers underwriters and other highly skilled staff, working many hours on your behalf

Will l spend money and get nothing in return?

We guarantee our work. Our document service is backed by our Guarantee Policy with 100% Money Bacl< -
terms included in package

We Are Committed To Providing Our Customers With Excellent Service During These Difficult Times

 

 

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EXHIBIT E

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A Non~Profit (lRS 501¢) public Benefit Corporation

MORTGAGE HELP CENTER

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Dear

As a Non~Protit, Public Benefit Corporation, our goal is to help as many homeowners as we can. Since
there is a high demand for this program, your pre-approved application must be sent by:

 

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_ lease use the enclosed pre-paid FedEx envelope to ensure your application arrives prior to the above
iration date
Pleas il mo with any quootions,

  
    

nda El-Farra
Senlor Casc Manager
Phone: 1-866~388-1635
Fax: 1-800-359-6041

 

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Mortgage Help Center
CHECKLIST

1. Complete and sign each document

2. Complete the Homeowner Questionnaire

3. Hardship Letter - check reasons and sign

4. Send copy of mortgage payment statement on each loan

5. Enclose check or money order for initial program
payment of $249 payable to: _EL:_'§£_QQ_Q

Your Case Manager will be working directly with you, When
0 your document preparation and financial analysis are
completed and ready for submission, your completion payment

of $249 is due at that time and the total program fee of $498 will be
satislied.

First One Lending Corporation is a Non-Profit lle 501¢) Public Benefit Corporatlon an
approved lender through HUD (U.S. Dept. of Housing and Urban Development) and a
member of NAHCA. Our specific purpose is to expand affordable housing
opportunities to the public.

 

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A Nen»Profit (lRS 601¢:) Fublie Benefit Comoratlon

 

ACTUAL RESULTS Mortgage Help Center)
Mnthly payment A_fggr Modificatlon Monthly Savings Lender

 

 

$Sl 17 33921 51196 Wells Fargo
54754 $3694 $1060 AHMSl

84301 $3134 Sl 167 Bank of America
$3564 52786 3 778 Wachovia

$3551 $2629 S 922 Bayview

$3912 52015 31897 Bank of America
33561 $1938 sum citinongage
32940 818!6 51124 Littoll

32791 $1410 81.381 American Home Mtg
seals $1913 s 702 mdme

32571 51264 51301 Bank of Amerlca
$2568 $1865 $ 703 Wachovla

52551 $1705 5 846 aurora

32527 51670 $ 857 NatlonSlar

32442 $2026 $ 415 lndyMac

52417 31908 $ 508 GMAC

82038 $1834 5 204 AHMS|

$1960 $ 950 51009 ASC

81915 81464 S 451 Litton

sum s 763 sills cluuortgage
81870 $1076 $ 794 American Home Mtg
$1854 31533 s 321 sumner Mortgage
$1832 51263 5 568 |ndyMac

$1759 51092 3 667 Bank ofAmerica
31755 $1522 $ 318 First Franklin
31691 $ 599 31092 Aurora

51598 81128 S 470 ASC

51565 51194 $ 371 AHMS|

51488 51058 $ 430 Lilton Loan Sorvicing
$1417 $1020 $ 397 Bank of America
$1286 5 902 $ 384 Saxon

$1233 S 998 5 235 chen

$1192 $ 648 $ 544 Provldent Funding
51051 5 788 3 263 Beneficia|

$1029 $ 647 3 382 Wells Fargo

$ 742 8 400 $ 342 Chase Mortgage
$ 346 $ 175 $ 171 GMAC

$ 330 $ 100 5 230 PNC

S 207 $ 80 5 127 HSBC/IlFC

 

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Homeowncr’s Assistance Authorization

 

ABOUT FlRST ON§

First One is a Non»Protit (lRS E“)Oic) Public Benefit Corporation. Our specific purpose is to expand affordable
housing opportunities to the public. To provide housing counseling services to assist homebuyers and
homeowners in obtaining affordable housing financing and assisting homeowners to avoid default and
foreclosures free of charge Our staff is comprised of case managers loan processors and counselors
working on your behalf

ASSIST|NG HON_l§OWN§RS

Phase l - Documentation Service

Our documentation service is a for fee service, compliant with our non-profit status as it covers our
nominal costs to prepare your nnancial analysis and essential documentation You have hired us
pursuant to the scope of services of the Services Agreement to prepare such documentation

Achieving a successful mortgage payment reduction requires preparing a financial analysis with
supporting documentation that meets HAMP and/or Traditional mortgage payment reduction guidelines
The process for revising your loan terms varies by lender. lt also varies by individual borrower situation
at any given lender. We provide a valuable service of preparing your financial analysis and documenting
your financial situation Just like processing a loan based on a lenders loan approval guidelines
properly structured and compliant documentation achieves the best results This is a paid service for
the processing and preparation of your documentation and financial analysis on|y.

 

Phase ll - Housing Counseling Submission

First One is a Non~Proiit (lRS 5010) Public Benefit Corporatlon, offering free-of*charge housing counseling
to assist consumers in making informed and reasonable decisions with respect to their housing goals and
provide assistance in resolving their housing problems First One also provides free-of»charge
assistance in coordinating your financial analysis submission to the HUD Housing Counseling Agency to
assist you with your lender to achieve a result HUD (Dept. of Housing and Urban Development)
Housing Counseling assistance is provided at rio-charge and is not contingent on you hiring First Qne for
any other service By signing below client desires and requests our free of charge assistance for First
One to coordinate clients financial analysis submission to the Home Save Program of the Neighborhood
Assistance Corporation of America HUD Housing Counselors or other HUD approved housing counseling
agency that is applicable Client further authorizes First One personnel to enter C|ient’s electronic
signature authorization as part of the initial submission to the Home Save Program.

We Are Committed To Providing Our Customers With Exce|lent Service During These Difficult Times

Client understands and acknowledges First One’s counseling service and documentation service

 

Client Signature: Date:

Client Signature: Date:

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EXHIBIT F

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NMHC
National Mortgage Help Center

WELCOME LETTER

Your NMHC Documentation Package has been received.

My name is Randa, l have been assigned as your Case Manager.

My contact information is: Randa

866-368-1635 (Direct Phone)
404-920-6379 (Fa)<)
randa@firstoneloans.com

l have reviewed your file and per your lender's request1 please provide me
with the following items - they can be taxed or mailed.

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1. Most recent 30 Days worth Paystubs for Michael

2. Most recent 30 Days worth of Paystubs for 2"d job for Michael
2. Most recent 2 month bank statements(all pages)

3 A copy of a most recent utility bil|(either electric or gas or water)
4 2010 Federal income Tax Returns(all pages and all schedules)
5 Most recent disability statement for Pamela

6. Any letters or packages that you receive from your lender l
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l

Your immediate attention is appreciated so that your tile is not delayed.

Thank you,

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EXHIBIT G

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First One Lending Corporation Provides A Guarantee Policy
pursuant to the foilowing:

Our Guarantee Policy demonstrates our extreme confidence in our service which is designed to save you time, and
most of ali, stress, as we take care cf the document processing and financial analysis your lender requires to revise

the terms of your mortgage loan. We are confident that you will feel the same way as our many other satisfied
customersl

First One’s case managers, underwriters and processors are highly skilled and experienced in preparing
documentation associated with our customers income and financial analysis pursuant to loan underwriting standards
for customers use in requesting a mortgage payment reduction from their lender.

We guarantee that our financial analysis meets HAMP and/or traditional mortgage payment reduction guidelines to
demonstrate to your lender why you should receive a mortgage payment reduction

Your financial analysis is prepared according to industry lending standards and represents your current financial
situation based on the documentation and information provided by the homeowner We reserve the right to revise,
update and/or correct your documents at no extra charge

st One requires that you have kept all of your obligations and responsibilities under the Services Agreement and
e satisfied the full services fee. First Gne will make best efforts to document Client’s information with respect to
ient’s particular financial situation as specified in paragraph 8 of the Document Services Agreement.

  
 

Privacy policy: First One does not share, give, sell or transfer any personal information about our customersl We
will only use personally identifying information to respond to you or to help us assist you in the preparation of your
documentation for use with your lender or the HUD Housing Counseling Agency in order to meet your needs.

l understand and agree to all terms outlined above

Ciient’s Signature Date 'jiient’s Printed Namev

Ciient’s Sig,naturew Date Ciient’s Printed Name“

 

 

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EXHIBIT H

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ortgage Help Cent r
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1. Compiete and sign each document
2. Compiete the Homeowner Questionnaire
3. Hardship Letter - check reasons and sign
4. Send copy of mortgage payment statement iii
5. Enciose check or money order for initial domrocess g
0 payment of $725 payable to: First One " `

Comp|etion Pavment \ -

Your Case Manager will be working directly with you. When
your document preparation and financial analysis are
compieted, your completion payment of $725 is due at that
time and your total fee Will be satisfied

First One Lending Corporation is an approved lender through HUD (U.S. Dept. of
Housing and Urban Development) and a member of NAHCA. Our specific purpose is to
expand affordable housing opportunities to the public.

 

 

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' EXHIBIT I

 

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Homeowner’s Assistance Authorization

ABOUT FIRST ONE

First One is a Housing Counselor Public Benefit Corporation. Our specific purpose is to expand
affordable housing opportunities to the public. To provide housing counseling services to assist homebuyers
and homeowners in obtaining affordable housing financing and assisting homeowners to avoid default and

foreclosures Our staff is comprised of case managers loan processors and housing counselors working
on your behalf,

ASSiST|NG HOME_OWNERS

Housing Counseling

First One is a Housing Counselor Public Benefit Corporation, offering free~of~charge housing counseling

to assist consumers in making informed and reasonable decisions with respect to their housing goals and
provide assistance in resolving their housing problems First One coordinates each client’s

financial analysis submission to the Home Save Program of the Neighborhood Assistance Network of HUD
Housing Counselors to assist you with your lender to achieve a result. HUD (Dept. of Housing and

Urban Development) Housing Counse|ing assistance is provided at no-charge and is not contingent on
you hiring First One for any other service

 

Documentation Service

Our documentation service is a service separate from our housing counseling Achieving a

successful mortgage payment reduction requires preparing a financial analysis with supporting
documentation that meets HAMP and/or Traditional mortgage payment reduction guidelines

if you do not have a compliant application package with a supporting financial analysis to demonstrate
why you qualify for a mortgage payment reduction nor wish to prepare it, you may choose to hire

our documentation services group to prepare the documentation and financial analysis for you, The
process for revising your loan terms varies by lender. lt also varies by individual borrower situation at
any given lender. We provide a valuable service of preparing your financial analysis and documenting
your financial situation. Just like processing a loan based on a lender's loan approval guidelines
properly structured and compliant documentation achieves the best results This is a paid service for
the processing and preparation of your documentation and financial analysis only.

We Are Committed To Providing Our Customers With Excel|ent Service During These Difficult Times

Ciient understands and acknowledges First One’s housing counseling service and documentation service

Ciient Signature: _~ Date:

 

Ciient Signature:( Date:

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EXHIBIT J

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Febmay 2a 2012

Re: Phase I and II

Phase I§Documentaticn Service
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We have completed our documentation service with respect to processing and preparing
your financiai analysis Your fife has been submitted and is with the Housing Counselor
of the Neighborhood Assistance Network ot`HUD Housing Counselors to assist you with
your tender in achieving a result

Phase H~Housing Cou nseiing Submission

Piease call the housing counselor assigned to your tile to schedule a counseling
appointment

Piease call 1¢888-302-6222 or log on to the website www.naca.com
You have been assigned the following

Member Number:
Password:

You can check status anytime either online or by phone by entering your member number
and password

 
 

Online Status Check: Www.gaca.com Ctick the fivei)»i#`ile icon and log in.
Phone Status Check: Ccli toll-free 1~888-302~6222

Piease contact your assigned housing counselor as soon as possible and have your

member gugbgr, ga§§wgrd and the financial analysis package included lwith this letter
handy.

    

Case Manager
{866}368~ 1635

__H_ Case_&;;mov-Mee‘-'D©C-MLG Documentl Filed 03/22/12 Page 73 of84 PagelD#:?s

M-

l"`ebmary 3, 2012

Re: Status and Next Steg

Statua

We have completed the processing and preparation of your financial analysis and it has
been submitted to your Housing Counselor of the Neigliborhood Assistance Networls of
HUD Houoing Counselors to assist you with your lender in achieving a result

 

Next Steg

Please call the housing counselor assigned to your file to schedule o counseling
appointment

Please call 1»888-302-6222 t
You have been assigned the following

Member Number:
Paaaword:

You can check status anytime either online or by phone by entering your member number
and password.

 

Online Status Check: www.u:icca:comy Cllck the ;\\ eli-l"ilc§ icon and log in.

Phone Stawa Check: Call toll-free 1-888'-302-6222

Please contact yotn‘.assignexl.hoitsing counselor as soon as possible and have your

v

guenther number. gassword and the financial analysis gackage included with this'letter
handy.

lt was great Working with you.

 

(866)368-1635

Case 8:12-cV-OO463-DOC-|\/|LG Document 1 Filed 03/22/12 Page 74 of 84 Page |D #:74

EXHIBIT K

A-**D'V~VLM

Case 8:12-cV-OO463-DOC-|\/|LG Document 1 Filed 03/22/12 Page 75 of 84 Page |D #:75

San Juan Caoistrono. CA , 92675
Phone; 866»368~1635
Fax; 404~920~6379

 

F\'om: v

Sent: Wodnesday, November 16, 2011 9:07 AM

Toa Randa El-Farra

Suhiectz Dlshonesty and Hypocrysy, Crtminlal Behavior?

Direetly due to your dishonest and totally bad advice we very well may lose our home oftwenty~eight
years.

We thought we could trust your company It is so sad when people our age are totally ripped oH` by
corporations like those you work forv

After speaking with the HUD folks audit is their opinion that you folks are just a bunch of coporate
crooks praying on people during a bad economic time 'I`o quote the HUD spolcesperson " We’re so
sorry that you gave these folks S?.OO0,00 for nothing You could have done this at the start, on your own
and Would be out of this mess by now. So thanks a lot

l am so disappoian in you and First Gne. l hope you forward this letter to the highest echelons,
because be sure that if my entire moneys are not refunded in thirty daya, I will file a complain with the
Washiugton State Attorney General’s Of’lice, the Better Business Bureau and any other agency that l can
find that has dealing with you,

You'll also be on my facebook page revealing the dishonesty of your company

 

 

hup://us.mg4.mail.yahoo.com/neo/launch ‘ 1/29/2012

 

 

 

‘ of 2
Case 8'12-cV-OO463-DOC-|\/|LG Document 1 Filed 03/2_2/12 Page 76 of 84 Page |[5§§%

Sthioot Ro: Diahooeety and Hypootysy, Crlmlnial Bohavior?
F'oom: d

To: mnda@$r$tnneloanst¢ont§

Datoz Tuosday, Novombor 22, 2011 1230 AM

I didn’t tell them you were dishonest but just the opposite. What paperwork did you tile that you didn't
get from rno, that I coudn't have filed b ' '
about First One. And why are you not a member of the Better Business Bureau I understand that I have
been ripped ot'f. I got that I'm saddened too and could possibly lose my home because of your
company I stand behind my original email. I would love to see how may others First One has dupedl

I Would also like a list ofothors that First One has "helped".

From: Randa El~l`-'an'a <randa@tirstonoloans.com>

To: ~ " v

Sont: Wednosday, Novomber 16, 2011 9:53 AM

Subjoot: RE: Dlahonesty and Hypoorysy. Crimlnial Behavior?

Dear

l am saddened when someone like yourself makes such reckless claims based on what someone else is
telling you who does not have the facto

The facts are stated in your contract You acknowledged signed and agreed to perform to our contract
Wo fully postponed the Scope of Services for which you paid and hired ua

A staff of individuals have Worked very hard on your behalf to prepare your tinanoial analysis as defined
in the Scopo of Services and place you in the position to be properly considered for a payment reduction

I would suggest that you refrain from publishing false and defamatory statements about our
organization You may open yourself up to civil liability

Honostly, the truth is that we fully porfonned to the agreement The process has helped others I
am the one disappointed by your comments which are unsupported

Thank you for tolling the people Who are the one’s helping you that we are dishonest

Randa El~Farra
First One Lending Corporation
31831 Camlno Caplstrano #30013

http://trs.mg4.mall.yahoo.com/neo!launoh 1/29/2012

Case 8:12-cV-OO463-DOC-|\/|LG Document 1 Filed 03/22/12 Page 77 of 84 Page |D #:77

EXHIBIT L

 

Case 8:12-cV-OO463-DOC-|\/|LG Documentl Filed 03/22/12

----- Or

From:

Sent: Monday, January 30, 2012 3:37 PM
To: Ted Ulan

Subject: Fwd: RE: VOlCE MAIL MESSAGE

-------- Original Message -----~~-

Subject: RE: VOICE MAIL MESSAGE

From: Stacey Timmins <stimmins@tirstoneloans.com>
To

CC;

- you are mistaken on this.

First One Lending is a registered referral agent with the National
Association of HUD Housing Counselors as Well as a HUD approved lender.
We did not "pass you on" in the manner you speak of ~ to NACA.

You paid First One for Document Services - not for a loan modification
Once we refer you to NACA your complete financial analysis and paperwork
have been completed by us - and you are then in the free of charge

assistance phase of the service. All of the paperwork has already been
submitted.

Please refer to the agreement / contracts that you signed.

The guarantee policy states "If your lender denies your request to
modify the terms of your loan based on our document service, you receive
100% money back,

Also please read the services agreement specifically items 2 and 3.

Stacey Timmins
First One Lending Corporation
31831 Ste. 3OOB Camino Capistrano

San Juan Capistrano, Ca. 92675

Page 78 of 84 Page |D #:78

 

 

Case 8:12-cV-OO463-DOC-|\/|LG Document 1 Filed 03/22/12 Page 79 of 84
Direci Line; 800-254-9309

Fax; 404~920~63 79
stimmins(?iifirstoneloans.com <mailto:stiminins(£i>firstoneloans.com>

PLEASE BE SURE TO FAX OR SCAN/E-MA!L ANY DOCUM\SN'I`A'l`lON / NO'l`lFlCATlONS
SENT 'l`() YOU BY YOUR LENDER 'l`() ME ASAP.

From:

Sent: Sunday, October 09, ZOl l 9:36 AM
To: Stacey Timmins

Subject; Re: V()ICE MAlL MESSAGE

Hi Stacey. l finally have a chance to respond to this email because l

am off of work today. Okay, l'm writing to find out what is going on.
NACCA, whom just finished preparing my paperwork to be submitted to
Fidelity is telling me that they will be the ones handling the

negotiation and paperwork for my home loan modification and that they
are not affiliated with you guys. They also mentioned to me that they
are a non~profit organization Basically, why did you guys charge me
$l450 to act as my middle person to get a loan modification done on my
home and you guys are not the ones negotiating my case right now or
trying to get it done’? Since NACCA is the company handling my case, l
am due for a full refund which is what you guys promised if you were not
able to get things done for me with fidelity on my behalf, You have my
email and my cell number is 9l 0-583-8898, my work number is

91 0~495-1421. What hurts the most is before Bill Mariner passed me on
to you as my case manager, l explained to him that the $1450 was all of
my savings and that l have 5 kids and one of them is a newborn. He told
me because he pre~screened me, that your company would get the loan
modification done with fidelity for me and if your company could not get
it done, that l would be able to get a full refund. To change my home
loan from a fixed rate of 5% to 2% or even l% sounded great to me and
was worth the chance. Now l'm finding out that you guys only took my
money to pass me on to NACCA ( a non-profit organization) that is going
to be doing everything you guys was paid for and promised me you'll do.
This is my submission for a full refund for my 31450 ASAP please.

God Bless,

Page |D #:79

Case 8:12-cV-OO463-DOC-|\/|LG Document 1 Filed 03/22/12 Page 80 of 84 Page |D #:80

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT UF CALIFORNIA

NDTICE UF ASEIGNMENT TO UNITEB STATES MAG[STRATE JUD-GE FUR DISEOVERY

This ease has been assigned to Distriet lodge David Cl'. Carter and the assigned
discovery Magistrate lodge is Mare Goldman.

The ease number on all documents tiled with the Court should read as follows:

saevla- 463 noe (nLe:ri

Pursuant to General Drder IJS-C*T of the United States Distn'et Court for the Central
Distriet ot`California, the Mag,istrate lodge has been designated to hear diseoi.»e:tj,r related
motions

All disel:in.~.=:r;¢,r related motions should be noticed on the calendar ofthe Magistrate lodge

NUTlEE TO GDUHS»EL

al r.u:i;n]..f of rriis norma must ha served with roe summons end complaint on ali defendants rif a removal action rs
nrsd, a copy orrhi's norton nars.t be earned on e.ll plaintiffs-1

Subsaquent documents must be titan att‘ne following |oeation:

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|.os Ango|ae. ch m12 Santa Ana, CA 92701-4515 ll|versldo, UA 92501

Fai|ura to H|a al the proper |ocalion will result |n your documents being warned to you.

 

G"u'-1B {DB\"€|B:| NCI`|'|CE GF ASS|GNMEHT TCI L.FN|TE[.'| STATEE MAG|STRATE ..FL.|DGE FGR DlECDVER"¢"

Case 8:12-cV-OO463-DOC-|\/|LG Document 1 Filed 03/22/12 Page 81 of 84 Page |D #:81

Name dc Address:

Chrisopher }. Mol*-lamara, Esq. [SBN 20921'.]5)
Kasowitz, Benson, Torres dr Friedman LLP
101 California Street, Stlite 230-fl

San Franeiseoi California 941 ll
(415}421-514:)

U`NII'EI] STATES DISTRIC'I` COURT
CENTRAL DISTRICT UF CA.LIFDRNIA

Neighhorhood Assistance Corporation of America, A CME mg

 

Massachusetts corporation,
FLnn~lTIFF{SJ SACVH - ma hoc [MLGI]
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First fine Lending lI.`,or|.':oration, a California
corporation, .lol'm ‘l.t'escera, an individual, and Does
l- lt], SUHMGNS

DEFENDAN`[`{S]_

 

 

To: oEFENoaNT(s); tSw ornamental

A lawsuit has been filed against you.

Withjn 21 days after service of this summons on you (not counting the day you received itj, you
must serve on die plaintiff an answer to the attached complaint E| amended complaint
El counterclaim l:l cross-claim or a motion under Rule 12 of the Federal Rules of Civii Procedure. The answer
or motion must he served on the plaintiffs attorneyT Chf'i§lopher .l. McNamara _ whose address is
l[]li California Street. Suite 230{], San Francisco1 California, 941 l | _ Ifyou fail m do 505
judgment by default will he entered against you for the relief demanded in the complaintl You also must Hle

your answer or motion with the court.

 

 

Clerlt, l_l.S. District Court of
"'l'ilt 22 Fill 3
Dated: EY-` H£ MGMA"
Deputy Clerl;
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fU.i‘E' 65 days {`,I"l‘d'£ defendant ij l'-fr€ Urrr'!é'rf 5k1th EH‘ d Uhii'ed Srd'f€.i' dg€nc}'. or r'.r rrn officer or empfoyee ofthe L-'m`ren' Srnres. Af.i'owen'
dd days by E’ide l2{a,li"3,l_i.

 

C"y'-Gl.-!i []fl.-'ll SL'MMUNS

Case 8:12-cV-OO463-DOC-|\/|LG Document 1 Filed 03/22/12 Page 82 of 84 Page |D #:82

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DEFEN DAN'[`S:

First One Lending CorporationJ a California corporation
31331 Camino i‘.l`al:ii'.=ll:rano1 #JDGB
San Juan Capistrano, CA 926‘?5

John Vescera, an individual
14 Carmei 1'iii'oods
Lagtlrta Niguel, Ci"-lt 926'??

Case 8:12-cV-OO463-DOC-|\/|LG Document 1 Filed 03/22/12 Page 83 of 84 Page |D #:83

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` 7 "County_iri this District:*

_ Case 8:12-cV-OO463-DOC-l\/|LG Document 1 Filed 03/22/12 Page 84 of 84 Page lD #:84

UNITED STATES DlSTRlCT COURT, CENTRAL DISTR!CT OF CALIFORN[A
ClVlL COVER SHEET

Vlll(zi). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? leo ij ch
lf` yes, list case numberts):

 

Vlll(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? |Y{No Ci Yes
lf` yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that app|y) ij A. Arise from the same or closely related transactions happenings, or event_s; or
Cl B. Call for determination ofthe same or substantially related or similar questions oflaw and fact; or
ij C. For other reasons would entail substantial duplication ot` labor if heard by differentjudges; or
C] D. Involve the same patent, trademark or copyright and one of the factors identified above in a, b or c also is present

 

IX. VENUE: (When completing the following information, use an additional sheet if` necessary,)

(a) List the Counry in this District; California County outside ofthis District; State ifothcr than Califomia; or Foreign Country, in which EACH named plaintifTresides.
l] Check here ii` the covemment_ its agencies or employees is a named plaintif`l'. ll` th is box is checked 20 to item (b).

 

County in this District:* California County outside ofthis District; State, if` other than Ca|it'omia', or Foreign Country

 

Massachusetts

 

(b) List the County'i`n this District; California County outside ofthis District; State ifother than Califomia; or Foreign Country, in which EACH named defendant resides
_..._l'_`l ..Check here if`.the government its agencies or employees is a named defendant lf`this box is checked co to item (c).

 

California County outside of this Distriet;, State, if` other than Califomia; or Fureign Country

 

First One Lehd`mg Corporation - Orangc County
John Vescera - Orange County

 

 

(c) List the Count`y in this District; California County outside of this District; State if other than Califomia; or Foreign Country, in which EACH claim arose.
Note: ln land condemnation cascs, use the location ofthe tract ofland involved.

 

County in this District:* California County outside of` this District; State, if' other than Calif`orni`a; or Foreign Country

 

Orange County

 

 

 

 

* Los Angeles, Orange, San Bcrnardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Counties
Note: ln land condemnation cases use the location of the tract of land involved

X_ siGNATURE OF ATTORNEY roe eeo PER); "“*”'"¢~ pate Mar¢h 22, 2012

Notice to Counsel/Parties: The CV-7l (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by |aw. This f`orm, approved by the Judicial Conf`erence ol’ the United States in September l974, is required pursuant to Local Rule 3-1 is riot filed
but is used by the C|erk of the Court for the purpose ofstatistics, venue and initiating the civil docket sheet (For more detailed instructions, see separate instructions sheet,)

 

Key to Statisticai codes relating to Socia| Security Cases:

Nature ol`Suit Code Abbreviation Substantive Statement ofCause of Action

861 ` ` ‘ illA All claims for health insurance benefits (Medicare) under TitIe 18l Part A, ofthe Socia| Security Act, as amended
’ Also, include claims by hospitals skilled nursing facilities etc., for certification as providers of services under the

program (42 UiS.C. 1935FF(b))

862 BL All claims for "Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act ot` |969.

(30 u.sc. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Tirle 2 of the Social Security Act, as
amended; plus all claims filed for chi|d’s insurance benefits based on disability (42 U.S.C. 405(g))

863 DlWW All claims filed for widows or widowers insurance benefits based on disability under Tit|e 2 ofthe Social Security
Act, as amended (42 U.S.C. 405(g))

864 SSlD All claims l`or supplemental security income payments based upon disability filed under Tit|e l6 of the Social Sccurity
Act, as amended

865 RSl All claims for retirement (o|d age) and survivors benefits under Title 2 of` the Social Security Act, as amended (42
U.S.C, (g))

 

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